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March 14, 2019

The Honorable Dan Aaron Polster

Carl B. Stokes United States Court House
801 West Superior Avenue, Courtroom 188
Cleveland, Ohio 441 13-1837

Re: Digital Media Solutions, LLC vs. South University of Ohio, LLC, et al.
Case No. 1119 CV 145

Subject: Minutes of Proceedings and Order Filed on March 13, 2019 and Request for
Modiflcation of the Court’s Order [Docket No. 162] as it Relates to Westem State
College of Law
Dear Judge Polster:

Following a review of your Order, as referenced above, I am providing this report in regard to
the efforts of Westem State College of Law (“Westem State”) to enable its students who were scheduled
to graduate in May 2019 to still graduate, even if the law school is required to close before the end of the
semester. The plan involves reducing the number of credits required to graduate for these students from
Westem State’s minimum of 88 credits to the ABA minimum of 83 credits. This change, together with
a few other changes in degree requirements that are not relevant here, would put those students who
were scheduled to graduate in May 2019 with 88 credits on a path to be able to complete 83 credits,
assuming the semester is extended far enough to cover two-thirds of the semester plus a short
administrative period to assign grades and assure that this group of students met all the requirements to

graduate

Unfortunately, this plan, the only feasible plan, cannot help students who are n_o_t in their last
semester of law school, whether third year students or otherwise, complete the semester should Westem
State close before the end of the normal semester. The plan can only work for those students
anticipating graduation in May 2019 because it is their last semester, so no additional study builds on

that semester’s work.

Pay periods involved: The above described plan was developed shortly before March 8, 2019,
the date on which all Argosy campuses not sold were to be closed by the Receiver per Court order.
March 8, 2019 is the end of a normal two week pay period, though the pay is not distributed until one
week later, on March 15, 2019.

The plan to permit those third year students with sufficient credits to graduate in May 2019
requires adding four additional weeks beyond March 8, 2019, or two additional pay periods. Those pay
periods end on March 22, 2019 and April 5, 2019, with pay to be disbursed on March 29, 2019 and April
12, 2019.

The Receiver appears to have confused this issue in his reports to the Court by assuming that the
pay distribution on March 15, 2019 relates to the first additional pay cycle, when in fact it will be
payment for the cycle completed as this plan was being developed. As such, the Receiver essentially
asked the funder of the additional pay cycles to ii.md a pay cycle for which receiver funds should have

already been set aside.

Correcting this pay-period misunderstanding is essential for the plan outlined above to certify as

graduates those students who have sufficient credits to graduate in May 2019,

Who are third year students and who can benefit from this nlan: The Court’s Minutes of
Proceedings expresses the need for the dean of the law school to find a path to graduation for “all third-

year students” including the intervening student, Marina Awed.

It is essential that all interested parties understand that not all third year students are alike.
Westem State has full-time and part-time students, and students who started their study in August or
January. As such, some third year students, because they are part-time, have an entire year of study
remaining before they will have accumulated sufficient credits to graduate. Some third year students
who started in a January term will not complete their requirements for graduation until December 2019,
assuming they continue taking courses at their current pace. Some third year students who may have

taken a reduced load in one or more semesters, may be anticipating graduation in August 2019,

At present, 77 Westem State students hope to graduate in May 2019; 2 students hope to graduate
in August 2019; 34 students hope to graduate in December 2019; and 95 students hope to graduate in
May 2020.

Among this group of students many can be accurately labeled today as third year students,
including 24 of the 95 May 2020 group who are part-time students. But the only students Westem State
can help to graduate now by the proposed plan to stay open through April 5, 2019, are the 77 who are
scheduled to graduate in May 2019 and can earn the requisite credits to do so.

For those students scheduled to earn 88 credits by May 2019, dropping the credits required from
88 to the ABA minimum of 83, and assuring they have sufficient “seat time” to complete two-thirds of
the semester, allows us to certify that they have 83 credits if they earn passing grades in all courses, and
if they meet various other graduation requirements, some of them imposed by the ABA (e.g., six units of

skills instruction).

For those students who were not in a position to earn 88 credits by May 2019, completion of
two-thirds of the semester will not allow Westem State to award them a minimum of 83 credits while

staying in compliance with ABA standards regarding the work required to earn a unit of credit.

As the Dean of Westem State, and on behalf of all students of the law school, I would therefore
respectfully ask that the Court amend its Minutes of Proceedings and Order dated March 13, 2019 [Dkt.
No. 162], to:

(1) reflect, confirm or acknowledge that the only path to graduation for third year students with
sufficient credits to graduate in May 2019 is to provide the means for Westem State to
remain open for additional study through pay periods ending March 22, 2019 (paid on March
29, 2019), and April 5, 2019 (paid on April 12, 2019);

(2) order that such payroll funding be provided; and,

(3) confirm or acknowledge that this plan or path will not allow students not scheduled to

graduate in May 2019 to complete the semester.

I have at all times prior and subsequent to the appointment of the Receiver remained focused
upon providing the best possible legal education to the students of Westem State. The past seven weeks
during the tenure of the receivership has been extremely difficult and stressful for the staff of the law
school, and more so for the students, who, through no fault of their own, find their legal educations in
jeopardy. At a minimum, those students with sufficient credits to graduate in May 2019 should be

enabled to do so by permitting Westem State to implement the plan outlined above,

    

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Dean and Professor of La
Westem State College of at Argosy University

Cc: Magistrate Judge Thomas M. Parker
Mark Dottore, Receiver (via electronic mail)
Mary Whitrner, Esq. (via electronic mail)

